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                                     13
                                                                        UNITED STATES DISTRICT COURT
                                     14
                                                                              DISTRICT OF NEVADA
                                     15

                                     16    ROBERT "SONNY" WOOD, an individual;               Case No. 2:17-CV-02393-MMD-DJA
                                           ACCESS MEDICAL, LLC, a Delaware limited
                                     17    liability company,
                                                                                             [PROPOSED]
                                                                                             ORDER       ORDER FOR SANCTIONS
                                     18                   Plaintiffs,                        ARISING OUT OF NAUTILUS’S MOTION
                                                                                             FOR A PROTECTIVE ORDER RELATING
                                     19           v.                                         TO THE 30(B)(6) DEPOSITION OF
                                                                                             NAUTILUS
                                     20    NAUTILUS INSURANCE GROUP, a
                                           Delaware limited liability company, et al.,
                                     21
                                                          Defendant.
                                     22
                                           NAUTILUS INSURANCE COMPANY,
                                     23
                                                          Cross-Claimant,
                                     24           v.

                                     25    ROBERT "SONNY" WOOD; ACCESS
                                           MEDICAL, LLC; FLOURNOY
                                     26    MANAGEMENT, LLC AND ROES 1-10,
                                           inclusive,
                                     27
                                                          Counter-Defendants.
                                     28
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                                      1            Having considered Defendant Nautilus Insurance Company's (hereafter "Nautilus") Motion

                                      2   for a Protective Order, ECF No. 237, and the opposition and reply briefs filed in response thereto,

                                      3   the Court ruled in Nautilus's favor and ordered that Nautilus may obtain sanctions, subject to a

                                      4   requirement that Nautilus and Plaintiffs Robert "Sonny" Wood and Access Medical, LLC

                                      5   (hereafter collectively "Plaintiffs") meet and confer to resolve the amount of reasonable fees and

                                      6   costs;

                                      7            And further having reviewed the declaration of Peter W. Bloom filed concurrently with

                                      8   Nautilus's Request for Sanctions, the meet and confer correspondence attached to the declaration

                                      9   of Peter W. Bloom, and the attached Stipulation as to reasonable fees and costs for the preparation

                                     10   of the two discovery motions;

                                     11            The Court orders that pursuant to Federal Rules of Civil Procedure 26(c)(3), 37(a)(5), and
    LLP




                                     12   the Court's Order of February 20, 2020, ECF No. 203, Nautilus is awarded monetary sanctions in
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                                     13   the amount of Five Thousand Dollars ($5,000), representing an agreed-upon reasonable amount of

                                     14   fees and costs incurred by Nautilus for its preparation of its motion, ECF No. 237, to be paid to

                                     15   Nautilus's counsel of record within thirty (30) days of the entry of this Order.

                                     16

                                     17            IT IS SO ORDERED:

                                     18

                                     19            October 21, 2020
                                          Dated: __________________                     ____________________________________
                                     20                                                 Magistrate Judge Daniel J. Albregts
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                                      1                                    CERTIFICATE OF SERVICE

                                      2

                                      3           I hereby certify that I am an employee of SELMAN BREITMAN LLP and, pursuant to

                                      4   Local Rule 5.1, service of the foregoing [PROPOSED] ORDER FOR SANCTIONS ARISING

                                      5   OUT OF NAUTILUS’S MOTION FOR A PROTECTIVE ORDER RELATING TO THE

                                      6   30(B)(6) DEPOSITION OF NAUTILUS on this 20th day of October, 2020, via the Court's

                                      7   CM/ECF electronic filing system addressed to all parties on the e-service list, as follows:

                                      8
                                           Martin Kravitz                                      Jordan P. Schnitzer
                                      9    L. Renee Green                                      THE SCHNITZER LAW FIRM
                                           KRAVITZ, SCHNITZER & JOHNSON                        9205 W. Russell Road, Suite 240
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                                     13                                                        WOOD and ACCESS MEDICAL, LLC
                                           Attorneys for Plaintiffs ROBERT "SONNY"
                                     14    WOOD and ACCESS MEDICAL, LLC
                                     15

                                     16

                                     17
                                                                                                       /s/ Pamela Smith
                                     18                                                                  PAMELA SMITH
                                                                                                An Employee of Selman Breitman LLP
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